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UNITED STATES OF AMERICA

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vs ) CR. No. 04-20356_13
)
TERRY GRANT, )
)
)

Defendant.

 

ORDER TO SURRENDER

 

The defendant, Terry Grant, having been sentenced in the above case to the custody of the
Bureau of Prisons and having been granted leave by the Court to report to the designated facility,
IS HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FCI Memphis
SCP, 1101 John A. Denie Road, Memphis, TN 38]34 by 2:00 p.m. on MONDAY, AUGUST 29,
2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Oflice of the Clerk, Federal Office Building, 167 N. Main Street, Rooin 242,
Mernphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the
defendant will report as ordered to the facility named above.

ENTERED this the Aday of August, 2005.

 

- D NIEL BREEN \
UN ED STATES DISTRICT JUDGE
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With Ru|e 55 and/or 32(b} FRCrP on

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ACKNOWLEDGEMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 39 in
case 2:04-CR-20356 was distributed by faX, mail, or direct printing on
August 3, 2005 to the parties listedl

 

 

Doris A. Randle-Holt

FEDERAL PUBLIC DEFENDER
200 .lefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Jennifer Lawrence Webber
U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable .l. Breen
US DISTRICT COURT

